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                                               August 3, 2021


BY CM/ECF & FIRST-CLASS MAIL
The Honorable Denise L. Cote
United States District Court
Southern District of New York
500 Pearl St., Room 1910
New York, NY 10007-1312

Re: Nitetek Licensing LLC v. EVBox North America Inc., C.A. No: 1:21-cv-04738-DLC

Dear Judge Cote:

        Defendant, EVBox North America Inc. (“Defendant”) filed a Motion to Dismiss For
Failure to State a Claim (the “Motion”) in the above-captioned matter on July 6, 2021. On July 7,
2021 Your Honor entered an Order that Plaintiff, Nitetek Licensing LLC (“Plaintiff”) shall file
an Amended Complaint by July 27, 2021. Unfortunately, I did not receive a copy of the Motion
and only found out about it today.

        Plaintiff is hereby asking the Court for a one (1) week extension from today or until
August 10, 2021 in which to file it’s Amended Complaint. This is the first such request for an
extension. Plaintiff’s counsel contacted Defendant’s counsel by phone and email late this
afternoon but was not able to get Defendant’s position on the Plaintiff’s request prior to this
filing.

       Counsel are available at the Court’s convenience should Your Honor have any questions.

                                                     Respectfully submitted,

                                                     /s/David W. deBruin
                                                     David W. deBruin

Enclosures
cc:    Clerk of the Court (by hand delivery)
       Counsel of Record (by CM/ECF)




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